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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON



 DAVID WILSON, as Administrator of the
 Estate of Lisa Noble, Deceased, Plaintiff
                                               )
 vs.                                           )
                                               )   CIVIL ACTION NO. 6:17-157-KKC
                                               )
 BEACON TRANSPORT, LLC and                     )
 TERRAN COOPER, Defendants                     )
                                               )
 ____________________________________


                                     NOTICE OF FILING

        Comes now the Defendants, Beacon Transport, LLC and Terran Cooper, by counsel and

 pursuant to the Magistrate Judge’s Order, hereby respectfully advises the Magistrate that the

 Defendants request that the Magistrate rule upon the Defendants’ FRCP 37(c) Motion.

        This the 10th day of December, 2018.

                                               JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                               869 Broadway Avenue
                                               P.O. Box 51093
                                               Bowling Green, KY 42102
                                               Telephone: (270) 904-4141
                                               Facsimile: (888) 590-2842

                                               /s/Harlan E. Judd, III____________
                                               Harlan E. Judd, III
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                                CERTIFICATE OF SERVICE

        This is to certify that a true and exact copy of the foregoing was emailed and/or sent by
 the Court’s ECF system on the 10th day of December, 2018, addressed to the following:

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                                             /s/Harlan E. Judd, III____________
                                             Harlan E. Judd, III
                                             Counsel for the Defendants




                                                2
